Case 17-09908   Doc 55-2   Filed 07/16/17   Entered 07/16/17 19:18:20   Desc Revised
                               Agreement    Page 1 of 4
Case 17-09908   Doc 55-2   Filed 07/16/17   Entered 07/16/17 19:18:20   Desc Revised
                               Agreement    Page 2 of 4
Case 17-09908   Doc 55-2   Filed 07/16/17   Entered 07/16/17 19:18:20   Desc Revised
                               Agreement    Page 3 of 4
Case 17-09908   Doc 55-2   Filed 07/16/17   Entered 07/16/17 19:18:20   Desc Revised
                               Agreement    Page 4 of 4
